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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS
                                    WICHITA DIVISION

ZURICH AMERICAN INSURANCE
COMPANY and AMERICAN
GUARANTEE AND LIABILITY
INSURANCE COMPANY,

                      Plaintiffs,
                                                  Case No. 6:19-cv-01275
v.

JUSTIN F. TERRAZAS and CLAUDALE
M. ARTERBURN, as Guardian and
Conservator of BRIAN D. ARTERBURN,
an adult with an impairment,

                      Defendants.


                   PLAINTIFF ZURICH AMERICAN INSURANCE COMPANY’S
                         DISCLOSURE OF CORPORATE INTERESTS

         COMES NOW Plaintiff Zurich American Insurance Company, by and through its

undersigned counsel, and pursuant to Fed. R. Civ. P. 7.1, states as follows for its Disclosure of

Corporate Interests:

         Zurich American Insurance Company is a wholly owned subsidiary of Zurich Holding

Company of America, Inc., a Delaware corporation. Zurich Holding Company of America, Inc.

is 99.8711% owned directly by Zurich Insurance Company Ltd, a Swiss corporation, with the

remaining shares indirectly owned by Zurich Insurance Company Ltd. Zurich Insurance Company

Ltd is directly owned by Zurich Insurance Group Ltd, a Swiss corporation. Zurich Insurance

Group Ltd is the only publicly traded parent company, with a listing on the Swiss stock exchange,

and a further trading of American Depositary Receipts.




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Dated October 15, 2019.

                                            Respectfully submitted,

                                            KUTAK ROCK LLP

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                                            COMPANY AND AMERICAN
                                            GUARANTEE AND LIABILITY
                                            INSURANCE COMPANY




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